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 7
                               UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9

10   Xiaohua Huang,                               Case No. 8:21-cv-0282-JVS-JDE

11                   Pro Se Plaintiff,            ORDER
12
            v.
13                                               Judge: Hon. James V. Selna
14   Big Data Supply, Inc.
15                     Defendant.
16

17          Plaintiff Xiaohua Huang and Defendant Big Data Supply, Inc. have filed a Joint
18   Stipulation seeking dismissal with prejudice of each party’s claims and defenses in this
19   action.
20          Having reviewed the stipulation, this Court finds that good cause exists to
21   DISMISS all claims and counterclaims in this action WITH PREJUDICE. Each
22   party shall bear its own costs.
23

24
     Dated: November 05, 2021
25                                           _______________________________
26                                              JAMES V. SELNA
                                            UNITED STATES DISTRICT JUDGE
27

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     Case No. 8:21-cv-1349-JVS-JDE           1
